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                                   UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF KENTUCKY
                                         CENTRAL DIVISION
                                            FRANKFORT

                                                    )
LUCY ALEXANDER, et al.,                             )
                                                    )
            Plaintiffs,                             )        Civil. No. 3:20-cv-00044-GFVT
                                                    )
v.                                                  )
                                                    )                    ORDER
THOMAS B. MILLER, et al.,                           )
                                                    )
            Defendants.                             )
                                                    )


                                              *** *** *** ***

           This matter is before the Court on the parties’ Joint Motion to Suspend Briefing and Set

     Status Report Date. [R. 115.] As support for this joint motion, the parties provide the following:

              1. On February 22, 2022, the DOR wrote to the University concerning the
                 DOR’s collection of University health care debts.
              2. On March 22, 2022, the University of Kentucky responded to the DOR’s letter
                 and requested that the Department of Revenue cease collection of UK medical
                 debt and return all accounts to the University.
              3. On March 24, 2022, the Department of Revenue posted on its website a notice
                 that it was no longer collecting UK medical debt.
              4. There is pending legislation concerning the DOR’s collection of consumer
                 health care debts. After being initially passed by the Kentucky House of
                 Representatives on March 4, that legislation was passed by the full General
                 Assembly on March 30, 2022 and sent to the Governor on that date. The
                 legislative session concludes prior to the April 27, 2022, status report
                 proposed in this motion.
              5. The parties have concluded that, in light of these events, it would be
                 inappropriate to continue briefing on the pending motions. The parties
                 propose to confer on the impact of these events on the litigation as a whole
                 and report the results of those discussions to the Court no later than April 27,
                 2022.

     Id.
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       Accordingly, and the Court being sufficiently advised, it is hereby ORDERED as

follows:

       1. Further briefing on the parties’ cross-motions for summary judgment and motion to

           enforce local rules [R. 88; R. 92; R. 94; R. 106] is STAYED; and

       2. The parties shall confer concerning the impact of the legislation on this litigation and

           submit a joint report to the Court on or before April 27, 2022.

       This the 7th day of April, 2022.




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